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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION                                             ENTERED
                                                                                              07/30/2018
IN RE:                                          §
DRILLING STRUCTURES                             §      CASE NO: 18-33395
INTERNATIONAL, INC.                             §
       Debtor(s)                                §
                                                §      CHAPTER 11

                                      ORDER
                          CHAPTER 11 STATUS CONFERENCE
                                 Resolving ECF # 4

      The Court conducted an initial status conference on July 30, 2018. It is therefore

      ORDERED that:

 1.   on or before August 13, 2018 the Debtor must

         i.   close all current bank accounts and open a Debtor-In-Possession bank account at a
              United States Trustee (“U.S.T.”) approved DIP bank;
       ii.    provide proof of insurance on all assets to the U.S.T. listing the UST as a party of
              notice;
       iii.   file motions to employ all professionals needed in this case;
       iv.    File a completed Form B426
        v.    File reports as required pursuant to 11 U.S.C. §1116

2.    Additionally, the Debtor must

         i.   file Monthly Operating Reports and pay U.S.T. fees as they become due;
        ii.   attend the Initial Debtor Conference and First Meeting of Creditors;
       iii.   file a Plan and Disclosure Statement on or before October 23, 2018
       iv.    remain current on all post-petition I.R.S. returns and estimated payments
              including compliance with Section 346, with the deposit requirements of the
              Internal Revenue Code and its Regulations and with all state tax law
              requirements;
        v.    file all necessary first day motions with the Court including Use of Cash
              Collateral




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      SIGNED 07/30/2018.


                                     ___________________________________
                                             Eduardo V. Rodriguez
                                          United States Bankruptcy Judge




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